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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                     COLUMBUS DIVISION

 LIGHTHOUSE BAPTIST CHURCH OF                        *
 COLUMBUS, GEORGIA, INC.
                                                     *
                        Plaintiff,                       Case No.4:18-CV-00009-CDL
 v.                                                  *

 RICKY SHORES, in his official capacity as Fire *
 Marshal of the Columbus Department of Fire &
 Medical Services,                              *

                   Defendant.
 ___________________________________

                                        JUDGMENT

       Pursuant to this Court’s Order dated April 10, 2019, and for the reasons stated therein,

JUDGMENT is hereby entered in favor of Defendant. Plaintiff shall recover nothing of Defendant.

Defendant shall also recover costs of this action.

        This 12th day of April, 2019.

                                              David W. Bunt, Clerk


                                              s/ Elizabeth S. Long, Deputy Clerk
